Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19     PageID.1        Page 1 of 58




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
JAMES MACCARIELLA, JR., on
behalf of himself and all others
similarly situated,                      No. 2:19-cv-10791

                            Plaintiff.   COMPLAINT—CLASS ACTION

v.                                       DEMAND FOR JURY TRIAL
FIAT CHRYSLER AUTOMOBILES
N.V., and FCA US LLC,

                        Defendants.




COMPLAINT—CLASS ACTION- 1                             KELLER ROHRBACK L.L.P.
                                                       1201 THIRD AVENUE, SUITE 3200
                                                          SEATTLE, W A 98101 -3052
                                                        TELEPHONE: (206) 623-1900
                                                         FACSIMILE: (206) 623-3384
 Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                                     PageID.2         Page 2 of 58




                                  Table of Contents
I.       INTRODUCTION .........................................................................................1

II.      NATURE OF THE ACTION ........................................................................1

III.     PARTIES .......................................................................................................6

         A.       Plaintiff ................................................................................................6

         B.       Defendants ...........................................................................................6

IV.      JURISDICTION AND VENUE ....................................................................9

V.       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS ...................11

         A.       Defendants’ emission-related problems are familiar. .......................16

         B.       Testing Reveals Emissions Problems With the Class
                  Vehicles .............................................................................................19

         C.       A Key Component of the Class Vehicles’ Emissions
                  System—The Catalytic Converter ....................................................20

         D.       Injury to Consumers ..........................................................................24

VI.      CLASS ACTION ALLEGATIONS ............................................................30

         A.       Class Definitions ...............................................................................30

         B.       Class Certification Requirements ......................................................32

VII. ANY APPLICABLE STATUTES OF LIMITATION ARE
     TOLLED ......................................................................................................36

         A.       Tolling Due To Defendants’ Concealment .......................................37

         B.       Estoppel .............................................................................................38

VIII. CLAIMS FOR RELIEF ...............................................................................39


COMPLAINT—CLASS ACTION- 1                                                            KELLER ROHRBACK L.L.P.
                                                                                        1201 THIRD AVENUE, SUITE 3200
                                                                                           SEATTLE, W A 98101 -3052
                                                                                          TELEPHONE: (206) 623-1900
                                                                                           FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                       PageID.3        Page 3 of 58




      A.       Claims Asserted on Behalf of the Nationwide Class ........................39

      B.       State Class Consumer Protection Claims ..........................................42

IX.   PRAYER FOR RELIEF ..............................................................................52

X.    DEMAND FOR JURY TRIAL ...................................................................55




COMPLAINT- 2                                                           KELLER ROHRBACK L.L.P.
                                                                         1201 THIRD AVENUE, SUITE 3200
                                                                            SEATTLE, W A 98101 -3052
                                                                           TELEPHONE: (206) 623-1900
                                                                            FACSIMILE: (206) 623-3384
    Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19       PageID.4         Page 4 of 58




                                        I.   INTRODUCTION

        Plaintiff Maccariella, individually and on behalf of all others similarly

situated (“the Class”), alleges the following against auto manufacturer/distributor

FCA US LLC (“FCA”) and its corporate parent Fiat Chrysler Automobiles N.V.

(together, “Fiat Chrysler” or “Defendants”); based where applicable on personal

knowledge, information and belief, and the investigation of counsel. This Court

has jurisdiction over this Action pursuant to the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d).

                               II.       NATURE OF THE ACTION
        1.       Fiat Chrysler consumers did not receive what they paid for when they

bought or leased one of the following gasoline-powered vehicles (collectively, the

“Class Vehicles”):

                 a.       2011-2016 MY1 Dodge Journey (FWD2)

                 b.       2011-2014 MY Chrysler 200 / Dodge Avenger (FWD)

                 c.       2011-2012 MY Dodge Caliber (FWD, CVT3)

                 d.       2011-2016 MY Jeep Compass/Patriot (FWD, CVT)

        2.       Approximately 900,000 Fiat Chrysler consumers like Plaintiff

Maccariella are outraged to learn from news reports that surfaced on March 13,


1
  Model year.
2
  Front-wheel drive.
3
  Continuously variable transmission.

COMPLAINT—CLASS ACTION- 1                                   KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
    Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                       PageID.5         Page 5 of 58




2019 that they must (among other things) devote time and energy to obtaining

critical vehicle repairs.

        3.       But these just-announced repairs are no ordinary “in and out” fixes.

Reportedly the fixes include a replacement of Class Vehicles’ catalytic converter

and changes to the powertrain control module.4

        4.       Catalytic converters are comprised of, in part, precious metals, such as

palladium. The market for palladium is “already reeling from shortages.”5

        5.       Because the equipment to perform repairs on their vehicles may be in

short supply, and the vehicles’ fixes are being made available on a set quarterly

schedule with the oldest vehicles first, consumers must wait their turn for a fix.

Consumers’ vehicles may thus become an idled resource, parked in driveways

without the necessary registrations to be driven, sold, or otherwise utilized.

        6.       And—perhaps most outrageous of all—consumers may not be able to

renew their vehicles’ registrations if emissions testing is required in their

jurisdiction. In California, where tens of thousands of Class Vehicles are located,

regulators have already made this restriction abundantly clear.




4
  Kelsey Mays, Chrysler, Dodge, Jeep Emissions Recall: What Owners Should Know, Cars (Mar. 14, 2019),
https://www.cars.com/articles/chrysler-dodge-jeep-emissions-recall-what-owners-should-know-1420757590245/
(last visited Mar. 15, 2019).
5
  Justina Vasquez and Marvin Perez, Fiat Recall Leaves Palladium Buyers Bracing for ‘Supply Shock’, Bloomberg
  (Mar 13, 2019), https://www.bloomberg.com/news/articles/2019-03-13/fiat-recall-leaves-palladium-buyers-
  bracing-for-supply-shock (last visited Mar. 15, 2019).

COMPLAINT—CLASS ACTION- 2                                                  KELLER ROHRBACK L.L.P.
                                                                              1201 THIRD AVENUE, SUITE 3200
                                                                                 SEATTLE, W A 98101 -3052
                                                                               TELEPHONE: (206) 623-1900
                                                                                FACSIMILE: (206) 623-3384
 Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19          PageID.6         Page 6 of 58




      7.     In the words of the Environmental Protection Agency’s March 13,

2019 announcement (the “EPA Announcement”), “[o]wners of affected vehicles

will receive notification [f]rom [sic] FCA when parts are available for them to

bring their vehicle into be repaired, and owners can continue to drive their vehicles

in the meantime. Owners who live in locations subject to inspection and

maintenance may be required to have the recall performed prior to having the

inspection performed.” Further, announcements from the EPA leave the door open

for additional vehicles to be subject to recall for similar reasons.

      8.     Notwithstanding the risk that consumers may not be able to pass

required emissions testing without a fix, the EPA Announcement urges patience

“[d]ue to the large number of vehicles involved and the need to supply replacement

components—specifically to the vehicle’s catalytic converter[.]” Accordingly, the

“recall will be implemented in phases during the 2019 calendar year beginning

with the oldest vehicles first.” The EPA announcement set forth a schedule for

implementation of the recall that will last for the duration of 2019:

             a.     2011 MY - Q1 2019

             b.     2012 MY - Q2 2019

             c.     2013/2014 MY - Q3 2019

             d.     2015/2016 MY - Q4 2019



COMPLAINT—CLASS ACTION- 3                                   KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
 Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19       PageID.7         Page 7 of 58




      9.     The California Air Resources Board took a blunter approach in its

own announcement (the “CARB Announcement”). In a significant announcement

for all affected consumers in California, CARB has declared that consumers “who

fail to get the necessary repairs will not be able to register their vehicles.”

Make no mistake, this recall is anything but “voluntary” and “routine” for residents

of California.

      10.    Thus, at a minimum, consumers are facing the following obstacles:

             a.    Their vehicles’ emission systems are not working the way they

      expected the systems to work when they purchased or leased their vehicles.

             b.    They must wait for their vehicles’ turn to get it fixed, assuming

      both 1) that the fix will be a comprehensive solution that will not cause new

      issues, and 2) that consumers don’t have to pay for additional repairs in

      order for technicians to implement the fix.

             c.    Their vehicles may not be able to pass emissions testing until

      they are repaired. In California, this is a certainty according to CARB. Of

      course, if the vehicle can’t be registered, California consumers may not be

      able to sell their vehicle while awaiting repairs—or otherwise face restricted

      options for sale while awaiting repairs (options which may affect the value a

      consumer can obtain).



COMPLAINT—CLASS ACTION- 4                                KELLER ROHRBACK L.L.P.
                                                           1201 THIRD AVENUE, SUITE 3200
                                                              SEATTLE, W A 98101 -3052
                                                            TELEPHONE: (206) 623-1900
                                                             FACSIMILE: (206) 623-3384
    Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                         PageID.8         Page 8 of 58




                 d.       The resale value of the Class Vehicles may have declined as a

        result of these and other emissions-related announcements by EPA and

        CARB.

        11.      After the EPA and CARB Announcements went live, FCA was

contacted for comment about the recall. FCA indicated that the recall “was

accounted for in last year's financial documents.”6 But FCA has still said nothing

to the vast majority of its own consumers, despite the fact that FCA has been under

considerable scrutiny in the wake of its EcoDiesel emissions issues.7 Instead of

disclosing to consumers the true nature and extent of its vehicles’ emissions issues,

FCA has continued its ardent efforts to boost its own bottom line, at consumers’

considerable expense and inconvenience.

        12.      Needless to say, as of March 13, 2019, FCA consumers once again

find themselves in an emissions bind, and once again, this conundrum is of FCA’s

making.




6
  Id.
7
  “The company declined to release the expected cost of the recall but said it was accounted for in last year's
financial documents.” See Eric D. Lawrence, Fiat Chrysler to recall more than 860,000 vehicles in new emissions
probe, EPA says, Detroit Free Press (Mar. 13, 2019) Error! Hyperlink reference not valid. (last visited Mar. 15,
2019).

COMPLAINT—CLASS ACTION- 5                                                    KELLER ROHRBACK L.L.P.
                                                                                1201 THIRD AVENUE, SUITE 3200
                                                                                   SEATTLE, W A 98101 -3052
                                                                                 TELEPHONE: (206) 623-1900
                                                                                  FACSIMILE: (206) 623-3384
 Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.9        Page 9 of 58




                                  III.   PARTIES

A.    Plaintiff
      13.    Plaintiff James Maccariella Jr., a resident of Marlton, New Jersey,

is the owner of two Class Vehicles, a 2015 Jeep Patriot and a 2016 Jeep Compass.

Mr. Maccariella purchased the 2015 Patriot for approximately $20,600 in May

2015, and he purchased the 2016 Compass for approximately $26,500 in March

2016. Plaintiff has received no information related to the EPA and CARB

Announcements from FCA about any emissions issues with his Class Vehicles.

Plaintiff would not have purchased the Class Vehicles, or would have paid less for

his vehicles, had he known that they would not comply with emission standards;

that they require one or more emissions repairs to become emissions compliant;

that they may not retain their resale value; and that they may not in the future

achieve the advertised performance and/or fuel economy.

B.    Defendants
      14.    Defendant FCA US LLC (“FCA”) is a Delaware limited liability

company. Defendant Fiat Chrysler Automobiles N.V. (“Fiat” or, together with

FCA, “Fiat Chrysler”) is FCA’s corporate parent. In 2009, Fiat’s predecessor,

Fiat S.p.A., began its acquisition of FCA’s predecessor, Chrysler Group LLC. The

acquisition was completed in January 2014, at which time Chrysler Group LLC

became a wholly-owned indirect subsidiary of Fiat and was renamed FCA US


COMPLAINT—CLASS ACTION- 6                                 KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.10         Page 10 of 58




LLC. FCA’s principal place of business and headquarters is located in this District

at 1000 Chrysler Drive, Auburn Hills, Michigan 48326.

      15.    FCA is a motor vehicle manufacturer and a licensed distributor of

new, previously untitled motor vehicles. Like its predecessor, Chrysler, FCA is

one of the “Big Three” American automakers, in addition to Ford and General

Motors.

      16.    FCA distributes and sells new and unused passenger cars and motor

vehicles under the Chrysler, Dodge, Jeep, Ram, and Fiat brands. Major divisions

of FCA also include Mopar, its automotive parts and accessories division, and

SRT, its performance automobile division.

      17.    Among the motor vehicles FCA has distributed and sold are the

following “Class Vehicles”:

             a.    2011-2016 MY Dodge Journey (FWD)

             b.    2011-2014 MY Chrysler 200 / Dodge Avenger (FWD)

             c.    2011-2012 MY Dodge Caliber (FWD, CVT)

             d.    2011-2016 MY Jeep Compass/Patriot (FWD, CVT)

      18.    FCA and its agents have designed, manufactured, distributed,

warranted, offered for sale, sold, and leased the Class Vehicles—with the

knowledge and intent to market, sell, and lease them in all 50 states, including in

Michigan.

COMPLAINT—CLASS ACTION- 7                                 KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                           PageID.11         Page 11 of 58




           19.     Dealers act as FCA’s agents in selling motor vehicles under the Fiat

Chrysler name and disseminating vehicle information provided by Fiat Chrysler to

customers.

           20.     Fiat, the corporate parent of FCA, is a Dutch corporation

headquartered in London. Fiat owns numerous European automotive brands in

addition to FCA’s American brands, including Maserati, Alfa Romeo, Fiat

Automobiles, Fiat Professional, Lancia, and Abarth. As of 2018, Fiat Chrysler is

the eighth largest automaker in the world by sales alone.8

           21.     Subject to a reasonable opportunity for further investigation or

discovery, Plaintiff alleges that FCA employees oversaw or were responsible for

approving elements of design and/or strategies related to emission compliance for

the Class Vehicles. Fiat also sold, offered for sale, introduced into commerce, or

delivered the Class Vehicles, with the intent to market or sell them in all fifty

states, including in Michigan.

           22.     Fiat Chrysler developed and distributed the owners’ manuals,

warranty booklets, product brochures, advertisements, and other promotional

materials relating to the Class Vehicles, with the intent that such documents should

be purposely distributed throughout all fifty states, including in Michigan. Fiat



8
    2018 World Car Group Ranking, Focus2Move, https://focus2move.com/world-car-group-ranking/ (last visited
    Mar. 14, 2019).

COMPLAINT—CLASS ACTION- 8                                                   KELLER ROHRBACK L.L.P.
                                                                               1201 THIRD AVENUE, SUITE 3200
                                                                                  SEATTLE, W A 98101 -3052
                                                                                TELEPHONE: (206) 623-1900
                                                                                 FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.12         Page 12 of 58




Chrysler is engaged in interstate commerce, selling vehicles through its network in

every state of the United States.

                      IV.    JURISDICTION AND VENUE
      23.     This Court has jurisdiction over this Action pursuant to the Class

Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one Class

member is of diverse citizenship from one Defendant, there are more than 100

Class members, and the aggregate amount in controversy exceeds $5 million,

exclusive of interest and costs.

      24.    This Court has personal jurisdiction over Defendants because they

conduct business in Michigan and have sufficient minimum contacts with

Michigan.

      25.    This Court has specific jurisdiction over Fiat Chrysler Automobiles

N.V. because it has purposefully availed itself of this forum by directing its agents

and distributor— FCA US LLC—to take action here.

      26.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred and/or

emanated from this District, as set forth in more detail below, and because

Defendants have caused harm to Class members residing in this District, as

explained below.



COMPLAINT—CLASS ACTION- 9                                 KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                           PageID.13          Page 13 of 58




        27.      FCA is headquartered in Auburn Hills, Michigan. Thus, FCA

conducts substantial business in this District, and many of the actions giving rise to

Plaintiff’s claims emanated from this District.

        28.      Moreover, FCA has marketed, advertised, sold and leased the Class

Vehicles in this District, and has caused harm to Class Members residing in this

District.

        29.      In addition to Defendants’ activities here, the Environmental

Protection Agency (“EPA”) has an important regulatory presence in this District.

Significantly, Ann Arbor is home to the agency’s National Vehicle and Fuel

Emissions Laboratory (“NVFEL”), where EPA tests “new and used cars, light

trucks and heavy-duty engines to ensure they meet emissions standards when they

are new and throughout their useful lifetime.”9 On information and belief, NVFEL

is where EPA conducts substantial in-use emissions testing, the type of testing

which indicated the Class Vehicles were not emissions compliant.

        30.      Further, when the EPA issued its Press Release on March 13, 2019,

revised on March 14, 2019 and described in greater detail below, the “Contact Us”

address online from EPA’s press release, available at




9
  Vehicle and Engine Emissions Testing at the National Vehicle and Fuel Emissions Laboratory (NVFEL), EPA,
https://www.epa.gov/vehicle-and-fuel-emissions-testing/vehicle-and-engine-emissions-testing-national-vehicle-and-
fuel (last visited Mar. 15, 2019).

COMPLAINT—CLASS ACTION- 10                                                   KELLER ROHRBACK L.L.P.
                                                                                1201 THIRD AVENUE, SUITE 3200
                                                                                   SEATTLE, W A 98101 -3052
                                                                                 TELEPHONE: (206) 623-1900
                                                                                  FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                               PageID.14          Page 14 of 58




https://www.epa.gov/recalls/fiat-chrysler-automobiles-voluntary-recall, links to the

EPA’s office in Ann Arbor, Michigan:




            31.

            32.     Thus, venue is proper in this District because a substantial part of the

events and omissions giving rise to Plaintiff’s claims occurred in this District.

           V.       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
            33.      Fiat Chrysler is a multinational corporation and the world’s eighth

largest automaker, with $38.29 billion total current assets.10 FCA manufactures



10
     Fiat Chrysler Automobiles N.V. Balance Sheet, MarketWatch,
     https://www.marketwatch.com/investing/stock/fcau/financials/balance-sheet (last visited Mar. 14, 2019).

COMPLAINT—CLASS ACTION- 11                                                       KELLER ROHRBACK L.L.P.
                                                                                    1201 THIRD AVENUE, SUITE 3200
                                                                                       SEATTLE, W A 98101 -3052
                                                                                     TELEPHONE: (206) 623-1900
                                                                                      FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                        PageID.15          Page 15 of 58




and distributes new passenger cars and motor vehicles such as Chrysler, Dodge,

Jeep, Ram and Fiat brands, and continues to report climbing sales. In fact, FCA

reported that 2018 was their highest calendar year of retail sales in 17 years, with

some brands increasing sales as high as 17%.11

        34.     Many of FCA’s impressive sales figures are built on consumers’ trust

that FCA vehicles would remain emissions compliant throughout the vehicles’

expected life. However, Fiat Chrysler has a recent history of failing to deliver on

its promises regarding its vehicles’ emissions and reliability. Some of those

broken promises are the focus of this Action.

        35.     Fiat Chrysler knew well before manufacturing and distributing the

Class Vehicles the emissions standards that the Class Vehicles were required to

meet. In 2010, nine years ago, the EPA and NHTSA finalized “a national program

consisting of new standards for model year 2012 through 2016 light-duty vehicles

that will reduce greenhouse gas emissions and improve fuel economy.” According

to these requirements, “The EPA greenhouse gas standards require these vehicles

to meet an estimated combined average emissions level of 250 grams of carbon

dioxide (CO2) per mile in model year 2016.”12


11
    FCA US Reports 2018 December and Full-Year Sales, Cision PR Newswire (Jan. 3, 2019),
   https://www.prnewswire.com/news-releases/fca-us-reports-2018-december-and-full-year-sales-300772429.html
   (last visited Mar. 15, 2019).
12
    EPA and NHTSA Finalize Historic National Program to Reduce Greenhouse Gases and Improve Fuel Economy
for Cars and Trucks, US EPA, (April 2010),
https://nepis.epa.gov/Exe/ZyPDF.cgi/P100AKHW.PDF?Dockey=P100AKHW.PDF, (last viewed Mar. 14, 2019).

COMPLAINT—CLASS ACTION- 12                                                KELLER ROHRBACK L.L.P.
                                                                             1201 THIRD AVENUE, SUITE 3200
                                                                                SEATTLE, W A 98101 -3052
                                                                              TELEPHONE: (206) 623-1900
                                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                             PageID.16         Page 16 of 58




        36.       Similarly, with respect to nitrogen oxides (“NOx”), Tier 2 emissions

standards were phased in from 2004 through 2009, with full implementation for

new passenger cars in 2007, well before the model years of the Class Vehicles.

        37.       However, despite ample warning of what the applicable emissions

standards would be, on March 13, 2019, the EPA announced that “FCA has agreed

to voluntarily recall 862,520 vehicles in the United States.” 13 These gasoline-

powered vehicles are not compliant with emissions standards, as discovered

through “in-use emissions investigations conducted by EPA and in-use testing

conducted by FCA as required by EPA regulations.”14




13
    Fiat Chrysler Automobiles Issues Voluntary Recall of Nearly 900,000 Vehicles in the United States, U.S. EPA,
   (Mar. 13, 2019) https://www.epa.gov/newsreleases/fiat-chrysler-automobiles-issues-voluntary-recall-nearly-
   900000-vehicles-united-states (hereinafter “EPA Announcement”).
14
    Id.

COMPLAINT—CLASS ACTION- 13                                                    KELLER ROHRBACK L.L.P.
                                                                                 1201 THIRD AVENUE, SUITE 3200
                                                                                    SEATTLE, W A 98101 -3052
                                                                                   TELEPHONE: (206) 623-1900
                                                                                    FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                              PageID.17         Page 17 of 58




           38.      The California Air Resources Board (“CARB”) issued a similar

announcement the same day, noting “an investigation by [CARB] and the U.S.

Environmental Protection Agency” and attributing the recall of nearly 900,000

FCA “passenger cars and SUVs… to a problem with their catalytic converters.” 15

According to CARB Executive Officer Richard Corey, “[e]xcessive pollution from

these vehicles impacts public health leading to a long list of serious ailments



15
      Fiat-Chrysler announces recall of more than 850,000 passenger vehicles, California Air Resources Board (Mar.
     13, 2019) https://ww2.arb.ca.gov/news/fiat-chrysler-announces-recall-more-850000-passenger-vehicles
     (hereinafter “CARB Announcement”).


COMPLAINT—CLASS ACTION- 14                                                      KELLER ROHRBACK L.L.P.
                                                                                  1201 THIRD AVENUE, SUITE 3200
                                                                                     SEATTLE, W A 98101 -3052
                                                                                    TELEPHONE: (206) 623-1900
                                                                                     FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.18         Page 18 of 58




including worsening the effects of asthma. Thus, fixing the vehicles is in

everyone’s best interest.”16




           39.   CARB also stressed that the Class Vehicles “emit NOX above

regulatory limits” and that “NOX emissions in California are the most important

contributor to ambient ozone and a key contributor to fine particulate matter



16
     Id.

COMPLAINT—CLASS ACTION- 15                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19           PageID.19        Page 19 of 58




pollution (PM 2.5) which is associated with premature death, asthma emergency

room visits, increased hospitalizations due to exacerbation of chronic heart and

lung diseases, and other serious health impacts.”17

          40.     According to the EPA, “[d]ue to the large number of vehicles

involved and the need to supply replacement components—specifically the

vehicle’s catalytic converter—this recall will be implemented in phases during the

2019 calendar year beginning with the oldest vehicles first.”18 Thus, it is not clear

if the required replacement components are readily available.

A.        Defendants’ Emission-related Problems are Familiar

          41.     While the scope of Fiat Chrysler’s latest emissions announcement

regarding nearly 900,000 noncompliant vehicles is astounding, FCA consumers aer

experiencing déjà vu. Just over two years ago, on January 12, 2017, the EPA and

CARB issued Notices of Violation to Fiat Chrysler Automobiles N.V. and FCA

US LLC alleging that certain “EcoDiesel” Ram and Jeep vehicles with 3.0-liter V6

diesel engines in the United States were equipped with eight Auxiliary Emissions

Control Devices (“AECDs”) that were not disclosed to the EPA, and that the




17
     Id.
18
     EPA Announcement, supra note 13.

COMPLAINT—CLASS ACTION- 16                                   KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                             PageID.20         Page 20 of 58




operation of one or more of the AECDs alone or in combination resulted in excess

emissions of NOx.19

        42.      Consumers who bought or leased the EcoDiesel vehicles filed suit,

asserting that the vehicles emitted significantly more pollutants than consumers

reasonably expected, and more pollutants than were permitted under federal and

state clean air laws. Plaintiffs further asserted that the defendants intentionally

misled consumers about the qualities and characteristics of the Subject Vehicles.

        43.      In January 2019, following two years of litigation about EcoDiesel

vehicles, Fiat Chrysler announced settlements with regulators and consumers. The

terms of the settlements are described in detail at www.ecodieselsettlement.com.

        44.      In a separate instance, Fiat Chrysler was recently fined $77 million in

U.S. civil penalties in the fourth quarter of 2018 when it was discovered its model

year 2016 U.S.-assembled passenger car fleet fell short of required fuel economy

targets.20

        45.      The penalty, issued because subject vehicles missed Corporate

Average Fuel Economy (CAFE) targets set by NHTSA, was the largest fine



19
   Official Court-Approved Legal Notice: Settlements with Ram and Jeep EcoDiesel Vehicle Owners/Lessees, the
   Environmental Protection Agency, and the California Air Resources Board, (2019)
   https://www.ecodieselsettlement.com/content/dam/fcacourtsettlement/pdf/Long_Form_Notice.pdf (last visited
   Mar. 14, 2019).
20
   David Shepardson, Fiat Chrysler paid $77 million in U.S. fuel economy penalties in 2018, Reuters (Feb. 7, 2019)
   https://www.reuters.com/article/us-fiat-chrysler-emissions-penalties/fiat-chrysler-paid-us-77-million-in-fuel-
   economy-penalties-in-2018-idUSKCN1PW2PZ, (last visited Mar. 14, 2019).

COMPLAINT—CLASS ACTION- 17                                                    KELLER ROHRBACK L.L.P.
                                                                                 1201 THIRD AVENUE, SUITE 3200
                                                                                    SEATTLE, W A 98101 -3052
                                                                                  TELEPHONE: (206) 623-1900
                                                                                   FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                           PageID.21         Page 21 of 58




imposed on a single automaker in five years. Fiat Chrysler was the only automaker

to pay a fine for the 2016 model year.21

        46.       After years of civil and criminal investigations, fines, and

settlements, Fiat Chrysler still is making news for emissions problems. The EPA

and CARB Announcements address vehicles produced by Fiat Chrysler that once

again fail to perform reliably and as represented. The number of affected vehicles

could also increase as the EPA is continuing to investigate other potentially non-

compliant vehicles.

        47.      In its response to the EcoDiesel settlements, Fiat Chrysler has

acknowledged the importance of renewed trust.22 However, in the face of the EPA

and CARB Announcements, it is difficult to imagine a basis for continued trust by

consumers. Instead, they are left to clean up, again, after FCA’s defective

vehicles.

        48.      Such repeated mistakes have elicited frustration from consumers, the

public, and the Justice Department alike. Jeffrey Bossert Clark, assistant attorney

general for the Justice Department’s Environment and Natural Resources Division,




21
   Jay Ramey, Think you owe the government big? Fiat Chrysler was fined $77 million for missing fuel economy
requirements, AutoWeek (Feb. 12, 2019), https://autoweek.com/article/car-news/fca-fined-77-million-missing-fuel-
economy-requirements-report-says (last visited Mar. 14, 2019).
22
   FCA US Reaches Settlements on Emissions Requirements, Global News Wire (Jan.10, 2019),
   https://www.globenewswire.com/news-release/2019/01/10/1686299/0/en/FCA-US-Reaches-Settlements-on-
   Emissions-Requirements.html (last visited Mar. 14, 2019).

COMPLAINT—CLASS ACTION- 18                                                  KELLER ROHRBACK L.L.P.
                                                                               1201 THIRD AVENUE, SUITE 3200
                                                                                  SEATTLE, W A 98101 -3052
                                                                                TELEPHONE: (206) 623-1900
                                                                                 FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                        PageID.22          Page 22 of 58




has recently called FCA “a multinational corporate bad actor” in connection with

the company’s irresponsibility and lack of accountability to consumers.23

B.      Testing Reveals Emissions Problems With the Class Vehicles
        49.     The EPA conducts and mandates testing on vehicles that are between

one and seven years old to examine the effectiveness of the vehicle over the course

of its useful life.

        50.     These “in-use emissions investigations conducted by EPA and in-use

testing conducted by FCA as required by EPA regulations” revealed that faulty

catalytic converters will need to be refurbished or replaced.

        51.     In 2010, the EPA and NHTSA finalized “a national program

consisting of new standards for model year 2012 through 2016 light-duty vehicles

that will reduce greenhouse gas emissions and improve fuel economy.” According

to this rule, “[t]he EPA greenhouse gas standards require these vehicles to meet an

estimated combined average emissions level of 250 grams of carbon dioxide (CO2)

per mile in model year 2016.”24




23
    Ryan Beene and Gabrielle Coppola, Fiat Hit by Emissions Again with U.S. Recall of 863,000 Cars, Bloomberg
   (March 13, 2019), https://www.bloomberg.com/news/articles/2019-03-13/fiat-chrysler-recalls-almost-900-000-
   cars-over-emissions-
   breach?fbclid=IwAR2nasosAW8DbnUhfqBY5tVXCo8zs0SmiBpmZ_xa7AzSl8cTbyg3XTI2ttY (last visited Mar.
   14, 2019)
24
    EPA and NHTSA Finalize Historic National Program to Reduce Greenhouse Gases and Improve Fuel Economy
for Cars and Trucks, supra note 12.


COMPLAINT—CLASS ACTION- 19                                                KELLER ROHRBACK L.L.P.
                                                                             1201 THIRD AVENUE, SUITE 3200
                                                                                SEATTLE, W A 98101 -3052
                                                                              TELEPHONE: (206) 623-1900
                                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                           PageID.23          Page 23 of 58




           52.      According to the EPA, “Due to the large number of vehicles involved

and the need to supply replacement components—specifically the vehicle’s

catalytic converter—this recall will be implemented in phases during the 2019

calendar year beginning with the oldest vehicles first.”25 It is unclear if the

required replacement components are available at this time or just how long

consumers will have to wait for their vehicle’s turn.

           53.      Meanwhile, consumers’ options to drive, sell, or otherwise dispose of

their vehicle(s) may be severely limited in the face of their jurisdiction’s emissions

testing requirements, to say nothing of the vehicle’s underlying resale value.

C.         A Key Component of the Class Vehicles’ Emissions System—The
           Catalytic Converter
           54.      Gasoline is primarily made up of hydrocarbons. Gasoline is

converted into motion through combustion, also known as burning. In an internal

combustion engine (“ICE”), the ignition and combustion of the fuel occurs within

the engine itself. The process begins by mixing fuel and air, and then inducting

this mixture into the cylinder during the intake process. After the piston

compresses the fuel-air mixture, the spark ignites it, causing combustion. The

expansion of the combustion gases pushes the piston during the power stroke.26



25
     EPA Announcement, supra note 13.
26
     Internal Combustion Engine Basics, US Office of Energy Efficiency & Renewable Energy (Nov. 22, 2013),
     https://www.energy.gov/eere/vehicles/articles/internal-combustion-engine-basics.

COMPLAINT—CLASS ACTION- 20                                                   KELLER ROHRBACK L.L.P.
                                                                                1201 THIRD AVENUE, SUITE 3200
                                                                                   SEATTLE, W A 98101 -3052
                                                                                 TELEPHONE: (206) 623-1900
                                                                                  FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19      PageID.24         Page 24 of 58




   Image: https://www.ck12.org/c/physical-science/internal-combustion-
   engine/lesson/Internal-Combustion-Engines-MS-PS/

      55.   Combusting gasoline and oxygen primarily creates CO2 and water, but

because the combustion process does not burn 100% of its ingredients and because

air contains gases other than oxygen (mostly nitrogen), NOx and carbon monoxide

(“CO”) also result. Unburned hydrocarbons, i.e. fuel, and residues of fuel

additives, may also remain after the combustion process. Hydrocarbons emitted



COMPLAINT—CLASS ACTION- 21                              KELLER ROHRBACK L.L.P.
                                                          1201 THIRD AVENUE, SUITE 3200
                                                             SEATTLE, W A 98101 -3052
                                                           TELEPHONE: (206) 623-1900
                                                            FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                          PageID.25          Page 25 of 58




from tailpipes react with NOx and sunlight to form photochemical pollution

(smog), mainly ground-level ozone.27

        56.      A catalytic converter, an emissions control device used in most

gasoline vehicles in the United States, seeks to reduce the amount of NOx, CO, and

hydrocarbons in tailpipe emissions. The ubiquity of catalytic converters is not a

recent phenomenon as American vehicles have been regularly equipped with them

since 1975, when the Clean Air Act standards on carbon monoxide, hydrocarbons,

and nitrates of oxygen came into effect.28 The “catalyst” in these emissions parts

are comprised of platinum, rhodium and/or palladium, coated into a ceramic

honeycomb or beads that are housed in the device, found between the engine and

the exhaust pipe.29

        57.      These catalysts change or “convert” the harmful compounds—CO,

NOx, and hydrocarbons—into relatively harmless exhaust gases that do a fraction

of the harm to air quality and the human respiratory system. This is accomplished

in two ways: (1) a reduction catalyst and (2) an oxidation catalyst. The reduction

catalyst creates harmless O2 by using platinum and rhodium to separate the

nitrogen and oxygen from NOx. The oxidation catalyst uses platinum and


27
   Tailpipe Emissions, Climate Change Connection (Aug. 22, 2017),
   https://climatechangeconnection.org/emissions/tailpipe-emissions/.
28
   Automobile Emissions Reduction Efforts in the U.S. – Chronology, EPA Air and Radiation Office of Mobile
   Services (1999), http://www.ehso.com/ehshome/auto-emissions_chronol.htm.
29
   What is a catalytic converter and how does it work?, HowStuffWorks,
   https://auto.howstuffworks.com/question66.htm (last visited Mar. 15, 2019).

COMPLAINT—CLASS ACTION- 22                                                  KELLER ROHRBACK L.L.P.
                                                                               1201 THIRD AVENUE, SUITE 3200
                                                                                  SEATTLE, W A 98101 -3052
                                                                                TELEPHONE: (206) 623-1900
                                                                                 FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.26         Page 26 of 58




palladium to oxidize any unburned hydrocarbon and bind the O2 with carbon to

create CO2.




Image: https://catsays.blogspot.com/2018/06/is-catalytic-converter-important-
how.html

      58.     Modern catalytic converters are equipped with sensors and monitors

that communicate with the Engine Control Module or Powertrain Control Module

in the vehicle to regulate the air/fuel mixture within the engine and the emissions

system. When the air-to-fuel mixture is rich, i.e., the mixture contains slightly

more fuel than the optimum ratio, there is a lower level of oxygen in the exhaust.

This allows the reduction catalyst to break down NOx. But to burn hydrocarbons


COMPLAINT—CLASS ACTION- 23                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                               PageID.27         Page 27 of 58




and carbon monoxide, the catalytic converter needs more oxygen, so the air/fuel

mixture has to go “lean”, i.e., the mixture contains slightly less fuel and more air

than the optimum ratio. This allows the catalyst to momentarily absorb oxygen

and trigger a reaction that burns up the hydrocarbons and CO.30 This constant back

and forth, which happens without the drivers’ knowledge, allows the vehicle to run

cleanly while still maintaining promised fuel economy and power figures.

            59.     A modern catalytic converter should last the life of the car or truck,

assuming an “average” life of 100,000 miles or more (and often more than 200,000

miles). This is a good thing, given that catalytic converters utilize precious metals

such as platinum, rhodium and/or palladium. The Class members here were not so

lucky.

D.          Injury to Consumers

            60.     Fiat Chrysler’s failure to meet U.S. emissions standards in nearly

900,000 vehicles spanning model years from 2011-2016 harms consumers in

numerous ways.

            61.     At the outset, many consumers lack information about the emissions

problems affecting their vehicles because FCA has not yet informed them. Thus,

they are injured through lack of knowledge and information about their choices as



30
     Catalytic Converters & O2 Sensors, AutoTap (2012),
     http://www.autotap.com/techlibrary/catalytic_converters_and_o2_sensors.asp (last visited Mar. 15, 2019).

COMPLAINT—CLASS ACTION- 24                                                       KELLER ROHRBACK L.L.P.
                                                                                   1201 THIRD AVENUE, SUITE 3200
                                                                                      SEATTLE, W A 98101 -3052
                                                                                     TELEPHONE: (206) 623-1900
                                                                                      FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.28         Page 28 of 58




consumers, and the impact this announcement may have on themselves and their

families’ vehicles. While waiting for repairs, many of the Class members’ vehicles

are an idled resource, unable to be used for any purpose. The announcement of the

massive recall, moreover, sets forth a recall schedule spanning all of 2019,

meaning that many consumers’ ability to sell, trade, or otherwise dispose of their

vehicles will be affected or impaired for many months, at a minimum.

        62.      However, FCA has known about the premature deterioration of

catalytic converters in the Class Vehicles for several months.31 According to FCA,

the company “decided to recall the vehicles last year.” And while FCA has been

silent as to most consumers, FCA started sending an “interim notice” to Canadian

consumers in August 2018 advising them that the Class Vehicles were equipped

with catalytic converters that may release air pollutants that exceed Canadian

emissions standards. Further, according to news reports, FCA factored the recall

into their 2018 budget long before they announced the recall on March 13, 2019.32

While “[t]he company declined to release the expected cost of the recall,” FCA has

reported that the recall “was accounted for in last year's financial documents.”33

        63.      In FCA’s Annual Report for 2018, the company alluded to potential

recalls in its NAFTA sector without explicitly disclosing the recall which is the


31
   Ryan Beene and Gabrielle Coppola, supra note 24.
32
   Eric D. Lawrence, supra note 7.
33
   Id.

COMPLAINT—CLASS ACTION- 25                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19                         PageID.29         Page 29 of 58




subject of this Action. FCA acknowledged early on in its report that a number of

risks and uncertainties could impact the company’s performance in 2019, including

“various types of claims, lawsuits, governmental investigations and other

contingencies affecting us, including product liability and warranty claims and

environmental claims, investigations and lawsuits.”34

        64.      In its annual report FCA also warned shareholders of the dangers of

product recalls, noting that such actions may “harm our reputation, force us to halt

the sale of certain vehicles and cause consumers to question the safety and

reliability of our products.”35 Of course, all of these observations are true, and all

have the potential to, among other impacts, reduce the market value of FCA

vehicles, including the Class Vehicles.

        65.      It is also possible that new vehicles with the same or similar problems

will come to light. For example, on March 14th, the Jeep Patriot was added to the

EPA Announcement one day after the announcement went live. Consumers cannot

be certain that the extent of the affected cars is known, or that the extent of the

numbers and models of defective vehicles has been publicly announced.




34
   Fiat Chrysler Automobiles N.V. Annual Report and Form 20-F for the year ended December 31, 2018 (Dec. 31,
   2018), https://www.fcagroup.com/en-
   US/investors/financial_regulatory/financial_reports/files/FCA_NV_2018_Annual_Report.pdf (at 10).
35
   Id.

COMPLAINT—CLASS ACTION- 26                                                 KELLER ROHRBACK L.L.P.
                                                                             1201 THIRD AVENUE, SUITE 3200
                                                                                SEATTLE, W A 98101 -3052
                                                                               TELEPHONE: (206) 623-1900
                                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19              PageID.30         Page 30 of 58




           66.     Next, assuming consumers learn of the needed repairs, replacing the

catalytic converters in hundreds of thousands of vehicles will be a substantial

inconvenience to Plaintiff and class members. Vehicle owners have not been told

when or where they can get their car fixed to be emissions compliant. All that has

been announced is a rough schedule for the recall, spanning all of 2019, and that

consumers “will receive a notification from FCA when parts are available for them

to bring their vehicle in to be repaired[.]” It is not clear if FCA has the necessary

supplies in stock at this point.36

           67.     Add to this confusion the fact that for California, and perhaps other

states’ consumers, CARB requires that their vehicles must be fixed in order to pass

emissions requirements for registration.

           68.     According to the current repair schedule, the oldest vehicles will be

repaired first. Model Year 2011 consumers will receive notification in Quarter

One of 2019, Model Year 2012 consumers will receive notification in Quarter Two

of 2019, Model Year 2013/2014 consumers will receive notification in Quarter

Three of 2019, and Model Year 2015/2016 consumers will, allegedly, receive

notification in Quarter Four of 2019.




36
     EPA Announcement, supra note 13.

COMPLAINT—CLASS ACTION- 27                                      KELLER ROHRBACK L.L.P.
                                                                  1201 THIRD AVENUE, SUITE 3200
                                                                     SEATTLE, W A 98101 -3052
                                                                   TELEPHONE: (206) 623-1900
                                                                    FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19            PageID.31         Page 31 of 58




           69.   Because Quarter One of 2019 is coming to a close in a few weeks

from the date of filing, it is possible, if not likely, that these repairs will extend into

2020, causing some drivers to continue driving non-compliant vehicles for at least

one year.

           70.   Even once the fix is available for consumers, consumers will be

inconvenienced. While FCA states that owners and lessees of Class Vehicles will

not pay fees for these repairs, they have not stated how they will compensate

consumers for the cost of multiple trips to the dealerships or for reimbursement of

alternative transportation costs in the likely scenario their vehicles are unable to be

registered with state and local departments of motor vehicles.

           71.   According to the EPA, “[o]wners who live in locations subject to

inspection and maintenance may be required to have the recall performed prior to

having the inspection performed.”37 However, owners are also instructed that they

“need to wait until they receive notification from FCA prior to scheduling an

appointment at the dealership.” There is no specification of what consumers

should do if they are required to have an inspection performed before they receive

this notification from FCA.




37
     Id.

COMPLAINT—CLASS ACTION- 28                                    KELLER ROHRBACK L.L.P.
                                                                1201 THIRD AVENUE, SUITE 3200
                                                                   SEATTLE, W A 98101 -3052
                                                                 TELEPHONE: (206) 623-1900
                                                                  FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19              PageID.32         Page 32 of 58




          72.     Importantly, while they are waiting for a necessary fix, consumers in

California “who fail to get the necessary repairs will not be able to register their

vehicles,” according to the CARB. There are over 50,000 Class Vehicles in

California alone.38 Thus, consumers in California may have no choice in the

matter. They may have to spend the time and suffer the inconvenience of having

their Class Vehicles repaired, as smog checks are required for most California

vehicles every two years or upon registration of a new vehicle (thus restricting

owners’ ability to register their vehicles if they relocate to California).

          73.     It is not yet clear what the registration impacts will be in many other

states that have either adopted CARB emissions standards or that impose emissions

or other reinspection requirements for vehicle registration.

          74.     In addition to the uncertainty surrounding the ability to register their

vehicles in the future, consumers are unsure how FCA’s proposed catalytic

converter replacement and software update will affect their vehicles’ existing

warranties. They are also justifiably concerned by potential out of pocket expenses

imposed by dealerships prior to the fix.

          75.     Assuming, for the sake of argument, that the Class Vehicles can be

brought into compliance with emission standards without any degradation to



38
     CARB Announcement, supra note 15.

COMPLAINT—CLASS ACTION- 29                                      KELLER ROHRBACK L.L.P.
                                                                  1201 THIRD AVENUE, SUITE 3200
                                                                     SEATTLE, W A 98101 -3052
                                                                   TELEPHONE: (206) 623-1900
                                                                    FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19           PageID.33        Page 33 of 58




performance or maintenance characteristics —Class members would still have

Class Vehicles that could not and did not deliver all of the characteristics for which

they paid.

                      VI.   CLASS ACTION ALLEGATIONS
A.     Class Definitions

      76.    Pursuant to Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of

Civil Procedure, Plaintiff brings this Action on behalf of himself, the Nationwide

Class, and State Classes, defined as follows:

      Nationwide Class: All persons or entities in the United States (including its
      territories and the District of Columbia) who purchased or leased a “Class
      Vehicle.”

      77.    In addition to the Nationwide class, and pursuant to Federal Rules of

Civil Procedure Rule 23(c)(5), Plaintiff seeks to represent the following State

Classes as well as any subclasses or issue classes as Plaintiff may propose and/or

the Court may designate at the time of class certification:


      Michigan Class: All persons or entities in the State of Michigan who
      purchased or leased a “Class Vehicle.”
      New Jersey Class: All persons or entities in the State of New Jersey who
      purchased or leased a “Class Vehicle.”

      78.    For the purpose of these Class Definitions, “Class Vehicles” is

defined to include:




COMPLAINT—CLASS ACTION- 30                                KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.34         Page 34 of 58




             a.    All 2011-2016 Model Year Dodge Journey vehicles equipped

      with Front-Wheel Drive;

             b.    All 2011-2014 Model Year Chrysler 200 / Dodge Avenger

      vehicles equipped with Front-Wheel Drive;

             c.    All 2011-2012 Model Year Dodge Caliber vehicles equipped

      with Front-Wheel Drive and a Continuously Variable Transmission; and

             d.    All 2011-2016 MY Jeep Compass/Patriot vehicles equipped

      with Front-Wheel Drive and a Continuously Variable Transmission Class

      Vehicles

      79.    Excluded from the Class are Defendants and their subsidiaries and

affiliates; all persons who make a timely election to be excluded from the Class;

governmental entities; and the Judge to whom this case is assigned and his/her

immediate family. Also excluded from the Classes are individuals with personal

injury claims resulting from the Class Vehicles.

      80.    Plaintiff reserves the right to revise the Class definition based upon

information learned through discovery and investigation.

      81.    Plaintiff also reserves the right to modify the definition of the

Nationwide and/or any State Class prior to class certification.




COMPLAINT—CLASS ACTION- 31                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.35         Page 35 of 58




B.    Class Certification Requirements

      82.   Certification of Plaintiff’s claims for classwide treatment is

appropriate because Plaintiff can prove the elements of his claims regarding

liability and entitlement to damages on a classwide basis using the same evidence

as would be used to prove those elements in individual actions alleging the same

claim. This Action has been brought and may be properly maintained on behalf of

the Nationwide Class and/or State Class proposed herein under Federal Rule of

Civil Procedure 23.

      83.   Numerosity: Rule 23(a)(1): The members of the Class are so

numerous and geographically dispersed that individual joinder of all Class

members is impracticable.

      84.   Commonality and Predominance: Federal Rule of Civil

Procedure 23(a)(2) and 23(b)(3): This Action involves common questions of law

and fact, which predominate over any questions affecting individual Class

members, including, without limitation:

      85.   Whether Defendants engaged in the conduct alleged herein;

            a.     Whether Defendants designed, advertised, marketed,

      distributed, leased, sold, or otherwise placed Class Vehicles into the stream

      of commerce in the United States;



COMPLAINT—CLASS ACTION- 32                               KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.36        Page 36 of 58




            b.     Whether the Class Vehicles have the defects alleged herein,

      including whether the emissions control system and/or catalytic converters

      in the Class Vehicles contain a defect;

            c.     Whether the Class Vehicles fail to comply with EPA and/or

      state regulatory requirements regarding emissions;

            d.     Whether the emissions control systems in Class Vehicles can be

      made to comply with EPA, CARB, and other required standards without

      substantially degrading the performance of the Class Vehicles;

            e.     Whether Defendants knew or should have known that the Class

      Vehicles contained defects as alleged herein;

            f.     When Defendants discovered, knew, or should have known of

      the existence of the defects alleged herein;

            g.     Whether a reasonable consumer would consider the defects

      alleged herein and their consequences material to the decision to purchase or

      lease a Class Vehicle;

            h.     Whether Plaintiff and the other Class members overpaid for

      their Class Vehicles as a result of the defects and Defendants’ concealment

      thereof;




COMPLAINT—CLASS ACTION- 33                              KELLER ROHRBACK L.L.P.
                                                           1201 THIRD AVENUE, SUITE 3200
                                                              SEATTLE, W A 98101 -3052
                                                            TELEPHONE: (206) 623-1900
                                                             FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19          PageID.37         Page 37 of 58




             i.      Whether Plaintiff suffered out-of-pocket losses as a result of the

      defects alleged herein and whether they will suffer out-of-pocket losses as a

      result of the proposed recalls;

             j.      Whether Defendants had a duty to disclose the true nature of

      the Class Vehicles to Plaintiff and Class members;

             k.      Whether Defendants omitted, concealed, and/or failed to

      disclose material facts about the Class Vehicles;

             l.      Whether Defendants knew or should of known that the Class

      Vehicles’ emissions systems would function as intended throughout their

      useful life;

             m.      Whether Defendants’ concealment of the true nature of the

      Class Vehicles would have induced a reasonable consumer to act to his or

      her detriment by purchasing and/or leasing the Class Vehicles;

             n.      Whether Defendants’ conduct violates consumer protection

      statutes, warranty laws, and other laws as asserted herein;

             o.      Whether the remedies proposed by Defendants for the Class

      Vehicles would constitutes adequate and appropriate relief for the class;

             p.      Whether Plaintiff and the other Class members are entitled to

      equitable relief, including, but not limited to, restitution or injunctive relief;

      and

COMPLAINT—CLASS ACTION- 34                                  KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19          PageID.38         Page 38 of 58




             q.    Whether Plaintiff and the other Class members are entitled to

      equitable relief, including, but not limited to, restitution or injunctive relief;

      86.    Typicality: Rule 23(a)(3): Plaintiff’s claims are typical of the claims

of the Class members whom they seek to represent under Federal Rule of Civil

Procedure 23(a)(3) because Plaintiff and each Class member purchased a Class

Vehicle and were similarly injured through Defendants’ wrongful conduct as

described above. Plaintiff and the other Class members suffered damages as a

direct, proximate result of the same wrongful practices by Defendants. Plaintiff’s

claims arise from the same practices and courses of conduct that give rise to the

claims of the other Class members. Plaintiff’s claims are based upon the same

legal theories as the claims of the other Class members.

      87.    Adequacy: Rule 23(a)(4). Plaintiff will fairly and adequately

represent and protect the interests of the Class members as required by Federal

Rule of Civil Procedure 23(a)(4). Plaintiff has retained counsel competent and

experienced in complex class action litigation, including vehicle defect litigation

and other consumer protection litigation. Plaintiff intends to prosecute this Action

vigorously. Neither Plaintiff nor his counsel have interests that conflict with the

interests of the other Class members. Therefore, the interests of the Class members

will be fairly and adequately protected.



COMPLAINT—CLASS ACTION- 35                                  KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.39         Page 39 of 58




      88.    Declaratory and Injunctive Relief: Rule 23(b)(2). Defendants have

acted or refused to act on grounds generally applicable to Plaintiff and the other

members of the Class, thereby making appropriate final injunctive relief and

declaratory relief, as described below, with respect to the Class as a whole.

      89.    Superiority: Rule 23(b)(3). A class action is superior to any other

available means for the fair and efficient adjudication of this controversy, and no

unusual difficulties are likely to be encountered in the management of this class

action. The damages or other financial detriment suffered by Plaintiff and the

other Class members are relatively small compared to the burden and expense that

would be required to individually litigate their claims against Defendants, so it

would be impracticable for members of the Class to individually seek redress for

Defendants’ wrongful conduct. Even if Class members could afford individual

litigation, the court system could not. Individualized litigation creates a potential

for inconsistent or contradictory judgments and increases the delay and expense to

all parties and the court system. By contrast, the class action device presents far

fewer management difficulties and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.

 VII. ANY APPLICABLE STATUTES OF LIMITATION ARE TOLLED
      90.    For the following reasons, any otherwise-applicable statutes of

limitation have been tolled by the discovery rule with respect to all claims.

COMPLAINT—CLASS ACTION- 36                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19          PageID.40         Page 40 of 58




         91.   Through the exercise of reasonable diligence, and within any

applicable statutes of limitation, Plaintiff and members of the proposed Class could

not have discovered that Defendants were failing to inform consumers and

concealing and misrepresenting the true emissions levels of their vehicles.

         92.   Plaintiff and the other Class members could not have reasonably

discovered, and did not know of facts that would have caused a reasonable person

to suspect, that Defendants may have failed to report information within their

knowledge to consumers until shortly before this Action was filed.

         93.   Likewise, a reasonable and diligent investigation could not have

disclosed that Defendants had information in their possession about the existence

of its sophisticated emissions deception and that they omitted and concealed that

information, which was only discovered by Plaintiff shortly before this Action was

filed.

A.       Tolling Due To Defendants’ Concealment
         94.   Throughout the relevant time period, all applicable statutes of

limitation have been tolled by Defendants’ knowing and active concealment and

denial of the facts alleged in this Complaint.

         95.   Upon information and belief, prior to the date of this Complaint, if not

earlier, Defendants knew of the faulty emissions systems in the Class Vehicles, but

continued to distribute, sell, and/or lease the Class Vehicles to Plaintiff and the

COMPLAINT—CLASS ACTION- 37                                  KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.41          Page 41 of 58




class members. In doing so, Defendants concealed and expressly denied the

existence of problem with excess emissions, and/or failed to notify Plaintiff and the

Class members about the true nature of the Class Vehicles.

      96.    Instead of disclosing their deception, or that the emissions from the

Class Vehicles were far worse than represented, Defendants falsely represented

that its vehicles complied with federal and state emissions standards, and that they

were reputable manufacturers whose representations could be trusted.

B.    Estoppel

      97.    Defendants have a continuous and on-going duty to tell the truth about

their products and to disclose to Plaintiff and the other Class members the facts

that they knew about the emissions from Class Vehicles, and of those vehicles’

failure to comply with federal and state laws.

      98.    Although they had the duty throughout the relevant period to disclose

to Plaintiff and Class members that they had engaged in the deception described in

this Complaint, Defendants chose to evade federal and state emissions and clean

air standards with respect to the Class Vehicles, and intentionally misrepresented

their blatant and deceptive lack of compliance with federal and state law regulating

vehicle emissions and clean air.

      99.    Defendants actively concealed the true character, quality,

performance, and nature of the emissions systems in the Class Vehicles, and

COMPLAINT—CLASS ACTION- 38                                KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19      PageID.42         Page 42 of 58




Plaintiff and the class members reasonably relied upon Defendants’ knowing and

active concealment of these facts.

      100. Thus, Defendants are estopped from relying on any statutes of

limitations in defense of this Action.

                          VIII. CLAIMS FOR RELIEF

A.    Claims Asserted on Behalf of the Nationwide Class

                         NATIONWIDE COUNT I
                 IMPLIED AND WRITTEN WARRANTY
           Magnuson - Moss Warranty Act (15 U.S.C. §§ 2301, et seq.)

      101. Plaintiff incorporates by reference all preceding allegations as though

fully set forth herein.

      102. Plaintiff brings this Action on behalf of himself and the Nationwide

Class against Defendants.

      103. This Court has jurisdiction to decide claims brought under 15 U.S.C.

§ 2301 by virtue of 28 U.S.C. § 1332 (a)-(d).

      104. Plaintiff and members of the Class are “consumers” within the

meaning of 15 U.S.C. § 2301(3).

      105. Defendants are a “supplier” and “warrantor” within the meaning of 15

U.S.C. § 2301(4) and (5), respectively.

      106. The Class Vehicles are “consumer products” within the meaning of

15 U.S.C. § 2301(1).


COMPLAINT—CLASS ACTION- 39                              KELLER ROHRBACK L.L.P.
                                                          1201 THIRD AVENUE, SUITE 3200
                                                             SEATTLE, W A 98101 -3052
                                                           TELEPHONE: (206) 623-1900
                                                            FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.43         Page 43 of 58




      107. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with a written or implied

warranty.

      108. The amount in controversy of Plaintiff’s individual claims meets or

exceeds $25.00 in value. In addition, the amount in controversy meets or exceeds

$50,000 in value (exclusive of interest and costs) on the basis of all claims to be

determined in this lawsuit.

      109. Defendants provided Plaintiff and each member of the Class with

“written warranties” and “implied warranties,” as identified above, which are

covered under 15 U.S.C. § 2301(6) and (7), respectively.

      110. The terms of these warranties became part of the basis of the bargain

when Plaintiff and each member of the Class purchased their Class Vehicles.

      111. Defendants breached these written and implied warranties as

described in detail above. Without limitation, the Class Vehicles share a common

design defect in that they currently emit more pollutants than: (a) is allowable

under the applicable regulations, and (b) was revealed to regulators, consumers,

and the driving public. Without limitation, the Class Vehicles share common

defects requiring replacement of the Class Vehicles catalytic converters and other

repairs and/or modifications to the emissions control systems of the Class

Vehicles.

COMPLAINT—CLASS ACTION- 40                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.44         Page 44 of 58




      112. Plaintiff and each member of the Class have had sufficient direct

dealings with Defendants or its agents (including dealerships) to establish privity

of contract between Defendants, on the one hand, and Plaintiff and each member of

the Class, on the other hand. Nonetheless, privity is not required here because

Plaintiff and each member of the Class are intended third-party beneficiaries of

contracts between Defendants and their dealers, and specifically, of Defendants’

implied warranties. The dealers were not intended to be the ultimate consumers of

the Class Vehicles and have no rights under the warranty agreements provided

with the Class Vehicles; the warranty agreements were designed for and intended

to benefit consumers only.

      113. Affording Defendants a reasonable opportunity to cure its breach of

written warranties would be unnecessary and futile. At the time of sale or lease of

each Class Vehicle, Defendants knew, or should have known, of their

misrepresentations and/or material omissions concerning the Class Vehicles’

inability to perform as warranted, but nonetheless failed to rectify the situation

and/or disclose the design defect. Under the circumstances, the remedies available

under any informal settlement procedure would be inadequate and any requirement

that Plaintiff or members of the Class resort to an informal dispute resolution

procedure and/or afford Defendants a reasonable opportunity to cure its breach of

warranties is excused and thereby deemed satisfied.

COMPLAINT—CLASS ACTION- 41                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19           PageID.45         Page 45 of 58




      114. In addition, given the conduct described herein, any attempts by

Defendants, in their capacity as warrantors, to limit the implied warranties in a

manner that would exclude coverage of the defect is unconscionable and any such

effort to disclaim, or otherwise limit, liability for the defect is null and void.

      115. As a direct and proximate result of Defendants’ breach of the written

and implied warranties, Plaintiff and each member of the Class have suffered

damages.

      116. Plaintiff, individually and on behalf of the Class, seek all damages

permitted by law, including compensation for the monetary difference between the

Class Vehicles as warranted and as sold; compensation for the reduction in resale

value; the cost of purchasing, leasing, or renting replacement vehicles, along with

all other incidental and consequential damages, statutory attorney fees, and all

other relief allowed by law.

      117. The warranty laws of each state, which are incorporated into this

claim, are set forth below.

B.    State Class Consumer Protection Claims

     VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                 (Mich. Comp. Laws § 445.903, et seq.)
      118. Plaintiff incorporates by reference each preceding paragraph as

though fully set forth herein.


COMPLAINT—CLASS ACTION- 42                                   KELLER ROHRBACK L.L.P.
                                                               1201 THIRD AVENUE, SUITE 3200
                                                                  SEATTLE, W A 98101 -3052
                                                                TELEPHONE: (206) 623-1900
                                                                 FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19       PageID.46         Page 46 of 58




      119. Plaintiff brings this Action on behalf of himself and the Michigan

Class against all Defendants.

      120. The Michigan Consumer Protection Act (“Michigan CPA”) makes

unlawful “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the

conduct of trade or commerce ….” Mich. Comp. Laws § 445.903(1).

      121. Defendants, Plaintiff, and the Michigan State Class members are

“persons” within the meaning of Mich. Comp. Laws § 445.902(1)(d).

      122. Defendants are engaged in “trade” or “commerce” within the meaning

of Mich. Comp. Laws § 445.902(1)(g).

      123. In the course of their business, Defendants, through their agents,

employees, and/or subsidiaries, violated the Michigan CPA. In so doing, and by

marketing, offering for sale, and selling the defective Class Vehicles, Defendants

engaged in one or more of the following unfair or deceptive acts or practices as

defined in Mich. Comp. Laws § 445.903(1):

             a.    Causing likelihood of confusion or of misunderstanding as to

      the approval or continuing certification of the Class Vehicles by, among

      other things and upon information and belief, omitting, concealing and

      suppressing the fact that the Class Vehicles did not achieve their represented

      fuel efficiency and emissions standards, and emitted unlawfully high levels

      of pollutants such as NOx.

COMPLAINT—CLASS ACTION- 43                               KELLER ROHRBACK L.L.P.
                                                           1201 THIRD AVENUE, SUITE 3200
                                                              SEATTLE, W A 98101 -3052
                                                            TELEPHONE: (206) 623-1900
                                                             FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.47         Page 47 of 58




             b.     Representing that the Class Vehicles have continuing approval,

      characteristics, uses, or benefits that they do not have by, among other

      things, concealing and/or failing to timely disclose to consumers the fact that

      the Class Vehicles had defective emission controls and defective catalytic

      convertors.

             c.     Representing that the Class Vehicles are of a particular and

      continuing standard, quality and grade when they are not for the reasons

      described above.

             d.     Engaging in other conduct which created a likelihood of

      confusion or of misunderstanding for the reasons described above.

      124. Had they known the truth, Plaintiff and the Michigan State Class

would not have purchased or leased the Class Vehicles, or—if the Class Vehicles’

true nature had been disclosed and mitigated, and the Vehicles rendered legal to

sell—would have paid significantly less for them.

      125. Plaintiff and Michigan State Class members had no way of discerning

that Defendants’ representations were false and misleading, or otherwise learning

the facts that Defendants had concealed or failed to disclose.

      126. Defendants had an ongoing duty to Plaintiff and the Michigan State

Class to refrain from unfair and deceptive practices under the Michigan CPA in the

course of their business. Specifically, Defendants owed Plaintiff and Michigan

COMPLAINT—CLASS ACTION- 44                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19         PageID.48         Page 48 of 58




State Class members a duty to disclose all the material facts concerning the Class

Vehicles, they intentionally concealed it from Plaintiff and the Michigan State

Class, and/or they made misrepresentations that were rendered misleading because

they were contradicted by withheld facts.

      127. Plaintiff and Michigan State Class members suffered ascertainable

loss and actual damages as a direct and proximate result of Defendants’

concealment, misrepresentations, and/or failure to disclose material information.

Plaintiff and the members of the Class have sustained damage because purchased

vehicles that were not as represented; because their ability to sell, trade or dispose

of them has been compromised; because they own Class Vehicles that should

never have been placed in the stream of commerce; and because they are

diminished in value as a result of Defendants’ fraud.

      128. Defendants’ violations present a continuing risk to Plaintiff and the

Michigan State Class, as well as to the general public. Defendants’ unlawful acts

and practices complained of herein affect the public interest.

      129. Pursuant to Mich. Comp. Laws § 445.911, Plaintiff and the Michigan

State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or

practices, and awarding damages, punitive damages, and any other just and proper

relief available under the Michigan CPA.



COMPLAINT—CLASS ACTION- 45                                 KELLER ROHRBACK L.L.P.
                                                             1201 THIRD AVENUE, SUITE 3200
                                                                SEATTLE, W A 98101 -3052
                                                              TELEPHONE: (206) 623-1900
                                                               FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.49         Page 49 of 58




     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
            (Mich. Comp. Laws §§ 440.2314 and 440.2860)

      130. Plaintiff realleges and incorporates by reference all allegations of the

preceding paragraphs as though fully set forth herein.

      131. Plaintiff brings this Action on behalf of himself and the Michigan

State Class against Defendants.

      132. Defendants were at all relevant times “merchants” with respect to

motor vehicles under Mich. Comp. Laws § 440.2104(1) and “sellers” of motor

vehicles under § 440.2103(1)(c).

      133. With respect to leases, Defendants are and were at all relevant times

“lessors” of motor vehicles under Mich. Comp. Laws § 440.2803(1)(p).

      134. The Class Vehicles are and were at all relevant times “goods” within

the meaning of Mich. Comp. Laws §§ 440.2105(1) and 440.2803(1)(h).

      135. A warranty that the Class Vehicles were in merchantable condition

and fit for the ordinary purpose for which vehicles are used is implied by law

pursuant to Mich. Comp. Laws §§ 440.2314 and 440.2862.

      136. Defendants sold and/or leased Class Vehicles that were not in

merchantable condition and/or fit for their ordinary purpose in violation of the

implied warranty. The Class Vehicles were not in merchantable condition because

their emissions violate state and federal laws. The Class Vehicles were not fit for


COMPLAINT—CLASS ACTION- 46                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19       PageID.50         Page 50 of 58




their ordinary purpose as their emissions control systems and catalytic converters

were defective.

      137. Defendants’ breaches of the implied warranty of merchantability

caused damage to the Plaintiff and the Michigan State Class. The amount of

damages due will be proven at trial.

     VIOLATIONS OF THE NEW JERSEY CONSUMER FRAUD ACT
                  (N.J. Stat. Ann. § 56:8-1, et seq.)
      138. Plaintiff incorporates by reference each preceding paragraph as

though fully set forth herein.

      139. Plaintiff brings this Action on behalf of himself and the New Jersey

State Class against all Defendants.

      140. Defendants, Plaintiff, and the New Jersey State Class members are

“persons” within the meaning of N.J. Stat. Ann. § 56:8-1(d).

      141. Defendants are engaged in “sales” of “merchandise” within the

meaning of N.J. Stat. Ann. § 56:8-1(c), (e).

      142. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes

unlawful “[t]he act, use or employment by any person of any unconscionable

commercial practice, deception, fraud, false pretense, false promise,

misrepresentation, or the knowing concealment, suppression, or omission of any

material fact with the intent that others rely upon such concealment, suppression or


COMPLAINT—CLASS ACTION- 47                               KELLER ROHRBACK L.L.P.
                                                           1201 THIRD AVENUE, SUITE 3200
                                                              SEATTLE, W A 98101 -3052
                                                            TELEPHONE: (206) 623-1900
                                                             FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19       PageID.51         Page 51 of 58




omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or

not any person has in fact been misled, deceived or damaged thereby…” N.J. Stat.

Ann. § 56:8-2.

      143. In the course of their business, Defendants, through their agents,

employees, and/or subsidiaries, violated the New Jersey CFA. As described

above:

            a.     Defendants concealed, suppressed, omitted and failed to

      disclose material facts about the Class Vehicles in connection with their sale

      and advertisement of the Class Vehicles, causing likelihood of confusion or

      of misunderstanding as to the approval or continuing certification of the

      Class Vehicles by, among other things and upon information and belief,

      omitting, concealing and suppressing the fact that the Class Vehicles did not

      achieve their represented fuel efficiency and emissions standards, and

      emitted unlawfully high levels of pollutants such as NOx.

            b.     Defendants omitted material facts regarding the Class Vehicles’

      continuing approval, characteristics, uses, and benefits that they do not have

      by, among other things, concealing and/or failing to timely disclose to

      consumers the fact that the Class Vehicles had defective emission controls

      and defective catalytic convertors. Defendants represented that the Class

COMPLAINT—CLASS ACTION- 48                               KELLER ROHRBACK L.L.P.
                                                           1201 THIRD AVENUE, SUITE 3200
                                                              SEATTLE, W A 98101 -3052
                                                            TELEPHONE: (206) 623-1900
                                                             FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.52         Page 52 of 58




      Vehicles are of a particular and continuing standard, quality and grade when

      they are not, for the reasons set forth above.

             c.    Engaging in other conduct which created a likelihood of

      confusion or of misunderstanding, for the reasons set forth above.

      144. By the foregoing, and by marketing, offering for sale, and selling the

defective Class Vehicles, Defendants engaged in the following unfair or deceptive

acts or practices as prohibited by N.J. Stat. Ann. § 56:8-2: using or employing

deception, fraud, false pretense, false promise or misrepresentation, or the

concealment, suppression or omission of a material fact with intent that others rely

upon such concealment, suppression or omission, in connection with the

advertisement and sale/lease of the Class Vehicles, whether or not any person has

in fact been misled, deceived or damaged thereby.

      145. Defendants’ scheme and concealment of the true characteristics and

continuing performance of the emission control systems in the Class Vehicles were

material to Plaintiff and the New Jersey State Class, as Defendants intended. Had

they known the truth, Plaintiff and the New Jersey State Class would not have

purchased or leased the Class Vehicles, or—if the Class Vehicles’ true nature and

performance had been disclosed—would have paid significantly less for them.

      146. Plaintiff and New Jersey State Class members had no way of

discerning that Defendants’ representations were false and misleading, or

COMPLAINT—CLASS ACTION- 49                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.53         Page 53 of 58




otherwise learning the facts that Defendants had concealed or failed to disclose,

because Defendants’ emission control systems contained extremely sophisticated

technology. Plaintiff and New Jersey State Class members did not, and could not,

unravel Defendants’ deception on their own.

      147. Defendants had an ongoing duty to Plaintiff and the New Jersey State

Class to refrain from unfair and deceptive practices under the New Jersey CFA in

the course of their business. Specifically, Defendants owed Plaintiff and New

Jersey State Class members a duty to disclose all the material facts concerning the

Class Vehicles’ emission control systems because they possessed exclusive

knowledge, they intentionally concealed it from Plaintiff and the New Jersey State

Class, and/or they made misrepresentations that were rendered misleading because

they were contradicted by withheld facts.

      148. Plaintiff and New Jersey State Class members suffered ascertainable

loss and actual damages as a direct and proximate result of Defendants’

concealment, misrepresentations, and/or failure to disclose material information.

But for Defendants’ concealment, Plaintiff and the members of the Class would not

have purchased the Class Vehicles or would have paid less for them, because the

value of their vehicles has been impaired. Plaintiff and the members of the Class

have sustained damage because purchased vehicles that were not as represented;

because their ability to sell, trade or dispose of them; because they own Class

COMPLAINT—CLASS ACTION- 50                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.54         Page 54 of 58




Vehicles that should never have been placed in the stream of commerce; and

because they are diminished in value as a result of Defendants’ fraud.

      149. Defendants’ violations present a continuing risk to Plaintiff and the

New Jersey State Class, as well as to the general public. Defendants’ unlawful acts

and practices complained of herein affect the public interest.

      150. Pursuant to N.J. Stat. Ann. § 56:8-19, Plaintiff and the New Jersey

State Class seek an order enjoining Defendants’ unfair and/or deceptive acts or

practices, and awarding damages, punitive damages, and any other just and proper

relief available under the New Jersey CFA.

     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
              (N.J. Stat. Ann. § 12A:2-314 and 2A-212)

      151. Plaintiff realleges and incorporates by reference all allegations of the

preceding paragraphs as though fully set forth herein.

      152. Plaintiff brings this Action on behalf of himself and the New Jersey

State Class against Defendants.

      153. Defendants were at all relevant times “merchants” with respect to

motor vehicles under N.J. Stat. Ann. § 12A:2-104(1) and “sellers” of motor

vehicles under 2-103(1)(d).

      154. With respect to leases, Defendants are and were at all relevant times

“lessors” of motor vehicles under N.J. Stat. Ann. § 12A:2A-103(1)(p).


COMPLAINT—CLASS ACTION- 51                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.55         Page 55 of 58




      155. The Class Vehicles are and were at all relevant times “goods” within

the meaning of N.J. Stat. Ann. §§ 12A:2-105(1) and 2A-103(1)(h).

      156. A warranty that the Class Vehicles were in merchantable condition

and fit for the ordinary purpose for which vehicles are used is implied by law

pursuant to N.J. Stat. Ann. §§ 12A:2-314 and 2A-212.

      157. Defendants sold and/or leased Class Vehicles that were not in

merchantable condition and/or fit for their ordinary purpose in violation of the

implied warranty. The Class Vehicles were not in merchantable condition because

their emissions violate state and federal laws. The Class Vehicles were not fit for

their ordinary purpose as their emissions control systems and catalytic converters

were defective.

      158. Defendants’ breaches of the implied warranty of merchantability

caused damage to the Plaintiff and the Michigan State Class. The amount of

damages due will be proven at trial.

                          IX.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of members of the

Nationwide Class and State Classes, respectfully requests that the Court grant

certification of the proposed Nationwide Class and State Classes, including the

designation of Plaintiff as the named representative of the Nationwide Class and

respective State Classes, the appointment of the undersigned as Class Counsel, and

COMPLAINT—CLASS ACTION- 52                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19        PageID.56         Page 56 of 58




the designation of any appropriate issue classes and/or subclasses, under the

applicable provisions of Fed. R. Civ. P. 23, and that the Court enter judgment in

their favor and against Defendants, as follows:

              a.   A declaration that any applicable statutes of limitation are tolled

      due to the fraudulent concealment alleged in this complaint, and that

      Defendants are estopped from relying on any statutes of limitations in

      defense;

              b.   An order enjoining Defendants from continuing the unlawful,

      deceptive, fraudulent, and unfair business practices alleged in this

      Complaint;

              c.   Injunctive and equitable relief in the form of a comprehensive

      program to repair and modify all Class Vehicles, and to fully reimburse and

      make whole all Class members for all costs and economic losses that the

      Class Vehicles could incur by being brought into compliance with federal

      and state law;

              d.   Environmental reparations, mitigation, and remediation to

      offset the harm caused by the Class Vehicles, based on the mileage driven

      by all Class Vehicles and/or other appropriate measures of environmental

      harm;



COMPLAINT—CLASS ACTION- 53                                KELLER ROHRBACK L.L.P.
                                                            1201 THIRD AVENUE, SUITE 3200
                                                               SEATTLE, W A 98101 -3052
                                                             TELEPHONE: (206) 623-1900
                                                              FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19          PageID.57         Page 57 of 58




             e.    Costs, restitution, compensatory damages for economic loss and

      out-of-pocket costs, multiple damages under applicable states’ laws, punitive

      and exemplary damages under applicable law;

             f.    A determination that Defendants are financially responsible for

      all Class notice and administration of Class relief;

             g.    Any and all applicable statutory and civil penalties;

             h.    An order requiring Defendants to pay both pre- and post-

      judgment interest on any amounts awarded;

             i.    An award of costs and attorneys’ fees;

             j.    Leave to amend this Complaint to conform to the evidence

      produced in discovery and at trial; and

      Such other or further relief as the Court may deem appropriate, just, and

equitable.




COMPLAINT—CLASS ACTION- 54                                   KELLER ROHRBACK L.L.P.
                                                              1201 THIRD AVENUE, SUITE 3200
                                                                 SEATTLE, W A 98101 -3052
                                                               TELEPHONE: (206) 623-1900
                                                                FACSIMILE: (206) 623-3384
Case 2:19-cv-10791-SJM-APP ECF No. 1 filed 03/15/19      PageID.58         Page 58 of 58




                      X.     DEMAND FOR JURY TRIAL

       159. Pursuant to Federal Rule of Civil Procedure 38 (b), Plaintiff demands

a jury trial.



DATED: March 15, 2019

                                           Respectfully submitted by,
                                           /s/Lynn Lincoln Sarko
                                           Lynn Lincoln Sarko
                                           Gretchen Freeman Cappio
                                           Ryan McDevitt
                                           Rachel Morowitz
                                           KELLER ROHRBACK L.L.P.
                                           1201 Third Avenue, Suite 3200
                                           Seattle, WA 98101
                                           Telephone: (206) 623-1900
                                           Fax: (206) 623-3384
                                           lsarko@kellerrohrback.com
                                           gcappio@kellerrohrback.com
                                           rmcdevitt@kellerrorhback.com
                                           rmorowitz@kellerrohrback.com

                                           Alison Chase
                                           KELLER ROHRBACK L.L.P.
                                           801 Garden Street, Suite 301
                                           Santa Barbara, CA 93101
                                           Telephone: (805) 456-1496
                                           Fax: (205) 456-1497
                                           achase@kellerrohrback.com




COMPLAINT—CLASS ACTION- 55                              KELLER ROHRBACK L.L.P.
                                                          1201 THIRD AVENUE, SUITE 3200
                                                             SEATTLE, W A 98101 -3052
                                                           TELEPHONE: (206) 623-1900
                                                            FACSIMILE: (206) 623-3384
